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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,

Plaintiff,

v. Case No. 1:17-cv-02511-RJL

AT&T INC., DIRECTV GROUP
HOLDINGS, LLC, and
TIME WARNER INC.,

Defendants.

 

 

FILED
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Clerkl U.S. District & Bankruptcy
Gourts for the District of Co|umb|a

SUPPLEMENTAL SCHEDULING ORDER

The following supplemental scheduling order shall govern the proceedings in this

 

matter.
Event Date
Protective Order Entered Decernber 8, 2017
Fact Discovery Begins Upon entry of
Scheduling Order

 

lnvestigation Materials from Third Parties Production Begins On a
Rolling Basis (Based on receipt of written statement from third
party not objecting to disclosure)

Within 10 calendar
days after Protective
Order entered

 

Investigation Materials from Third Parties Production Completed
(Except for any with unresolved objections to the Protective Order)

Within 17 calendar
days after Protective
Order entered

 

 

 

 

 

Parties exchange preliminary fact witness lists Jan. 3, 2018
Parties exchange fmal fact witness lists Feb. 2, 2018
Parties exchange initial expert reports on economic and efficiency Feb. 2, 2018
and/or synergy issues, reserving the right to serve rebuttal reports

pursuant to this Order for any new disclosure contained in the initial

reports.

Close of fact discovery Feb. 16, 2018
Parties to submit Proposed Trial Procedures Order Feb. 16, 2018

 

 

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Parties exchange rebuttal reports Feb. 26, 2018
Close of Supplemental Discovery Feb. 28, 2018
Close of expert discovery l\/lar. 9, 2018

 

Pretrial motions and briefs (other than Daubert motions) to be filed l\/lar. 9, 2018

 

Parties to file Proposed Order on the Use of Confidential Information l\/lar. 9, 2018
at Trial

 

 

 

 

 

 

 

 

 

 

 

Daubert motions to be filed l\/lar. l2, 2018 - 10 Al\/l
Parties exchange witness lists, proposed trial exhibit lists, and l\/lar. 12, 2018 - 10 Al\/l
proposed trial exhibits, and submit the same to the Court
Oppositions to pretrial motions to be filed l\/lar. l3, 2018 ~ 10 Al\/l
Parties to file joint statement of evidentiary objections - l\/lar. 13, 2018 - 10 Al\/l
Parties to file joint statement of burden of proof and available l\/lar. 13, 2018 ~ 10 Al\/l
defenses
lnitial Pretrial Conference l\/lar. 13, 2018 - 3 Pl\/l
Oppositions to Daubert motions to be filed l\/lar. 15, 2018 - 10 Al\/l
Parties submit final trial exhibit lists and final trial exhibits to Court l\/lar. 15, 2018 ~ 10 Al\/I
Final Pretrial Conference (if necessary) Mar. 15, 2018 ~ 3 Pl\/l
Trial begins (anticipated 15 days) l\/lar. 19, 2018
Parties file Proposed Findings of F act and Conclusions of Law 7 _cz;len(cjlar days after
tria en s

 

 

The terms set forth above are as defined in the Case l\/lanagement Order, entered by the

Court in this case.

l. Calculation of Dates. Unless otherwise specified, days shall be counted pursuant

to Rule 6(a) of the Federal Rules of Civil Procedure.

2. ` Modii"ication of Scheduling Order. Any party may seek modification ofthis

Order for good cause. The Court maintains the right to modify this schedule as is necessary to

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address the issues presented in this case and accommodate its obligation to resolve other time-

sensitive legal matters on its docket.

3. Motions for Extensions. Parties seeking extensions of dates set out in this Order
should seek them in a timely fashion, before the relevant deadline passes.
SO ORDERED.

DATED: 3‘/¢ 555 IUMM

RICHARD &.LEoN `
United States District Judge

 

